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                    24-725(L)       24-728(CON)

             United States Court of Appeals
                 for the Second Circuit

        A.H., by her next friend E.H., R.D., by her next friend M.D.,
         J.D., by his next friend D.D., H.L., on behalf of themselves
       and all others similarly situated, A.B., on behalf of themselves
       and all others similarly situated, J.S., on behalf of themselves
      and all others similarly situated, J.C.M., on behalf of themselves
       and all others similarly situated, L.P., by her next friend C.P.,
                       DISABILITY RIGHTS NEW YORK,

                                                           Plaintiffs-Appellants,

            T.C., by his next friend D.S., M.L., on behalf of themselves
                          and all others similarly situated,
                                                                     Plaintiffs,
                           (caption continues inside front cover)



              On Appeal from the United States District Court
                  for the Southern District of New York


                          BRIEF FOR APPELLEES


                                              LETITIA JAMES
                                               Attorney General
BARBARA D. UNDERWOOD                           State of New York
 Solicitor General                            Attorney for Appellees
MATTHEW W. GRIECO                             28 Liberty Street
 Senior Assistant Solicitor General           New York, New York 10005
CLELAND B. WELTON II                          (212) 416-6197
 Assistant Solicitor General
      of Counsel                              Dated: July 3, 2024
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(caption continues from front cover)


                          E.B., M.W., by his next friend T.D., J.D.C.,
                          J.P.S., by his next friend S.S., M.F., O.A.,
                             M.Y., by his next friend B.L., C.H.,

                                            Intervenor-Plaintiffs-Appellants,

                                               v.

           NEW YORK STATE DEPARTMENT OF HEALTH, MARY T. BASSETT,
           in her official capacity as Commissioner of the New York State
                Department of Health, NEW YORK STATE OFFICE FOR
            PEOPLE WITH DEVELOPMENTAL DISABILITIES, KERRI NEIFELD,
              in her official capacity as Commissioner of the New York
                State Office for People with Development Disabilities,

                                                         Defendants-Appellees.
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                    PRELIMINARY STATEMENT

     Disability Rights New York (DRNY), a corporation that advocates

on behalf of individuals with disabilities, sued the New York State

Department of Health (DOH) and the New York State Office for People

with Developmental Disabilities (OPWDD). DRNY alleged that the

defendants violated federal law by unreasonably delaying the placement

of individuals with developmental disabilities into residential facilities.

Although DRNY was named as a plaintiff, it did not allege any injury to

DRNY itself. Nor did DRNY claim to operate as a membership organiza-

tion authorized to litigate on its members’ behalf. DRNY instead asserted

standing to litigate on behalf of all New Yorkers with developmental

disabilities, including unidentified nonparties.

     Ten individual plaintiffs joined DRNY’s lawsuit. While the case was

pending, however, all of these individuals secured placement in residen-

tial facilities—rendering their claims moot. In an attempt to save the case

from dismissal, eight more individuals moved to intervene.

     The U.S. District Court for the Southern District of New York

(Vyskocil, J.) dismissed the case for lack of jurisdiction, and denied the

motion to intervene. This Court should affirm.
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     First, DRNY lacks Article III standing. Eschewing any traditional

standing theory, DRNY asserts that Congress granted it authority to sue

on behalf of the entire community of individuals with developmental

disabilities. But for an organization to have Article III standing, it must

demonstrate injury either to the organization itself or to a member

thereof. DRNY has not established that it has any injured members, and

it cannot satisfy Article III by alleging injuries to unidentified individuals

who are neither members of the organization nor parties to the lawsuit.

      Second, no exception saves the individual plaintiffs’ moot claims

from dismissal. Although the plaintiffs denominated this case as a class

action, the putative class is not “inherently transitory”: An individual

plaintiff with a live claim could have obtained adjudication of a motion

for class certification had one been filed before the case became moot.

These plaintiffs simply failed to make such a motion while this action

was pending in the district court for eighteen months. The “capable of

repetition” and “voluntary cessation” doctrines also do not apply, because

there is no reason to believe that any individual plaintiff will ever again

seek placement in a residential facility.




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      Third, the proposed intervenors lack any cognizable interest in this

case, as would be necessary to justify intervention. The proposed interve-

nors have no interest in the individual plaintiffs’ now-moot claims. Nor

do they have an interest in the claims of the putative plaintiff class—

particularly because that putative class would not satisfy the requisites

to class certification. And the proposed intervenors themselves were all

placed in residential facilities by the time of the district court’s decision—

meaning that their individual claims are also moot. Even if the proposed

intervenors could assert live claims, the proper course would have been

to file their own lawsuit rather than to prolong this one.


                          QUESTIONS PRESENTED

      1.    Whether the district court correctly dismissed this action for

lack of subject matter jurisdiction, where (a) the organizational plaintiff

failed to demonstrate an injury-in-fact either to the organization itself or

to a member thereof; and (b) the individual plaintiffs’ claims are moot,

and no mootness exception applies.

      2.    Whether the district court properly denied the motion to

intervene because the proposed intervenors lack a cognizable interest in

the plaintiffs’ claims.

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                      STATEMENT OF THE CASE

A.   The Medicaid Home and Community-Based Services
     Waiver Program

     OPWDD licenses, regulates, and funds facilities that provide

housing and related services to individuals with developmental disabil-

ities. (Joint Appendix (J.A.) 165.) Many such individuals would ordinarily

require the level of care provided in an institutional setting (e.g., a

hospital or a nursing home). But through Medicaid’s home and community-

based services (HCBS) waiver program, tens of thousands of New

Yorkers with developmental disabilities are able to live in non-institu-

tional residential facilities while still receiving the care that they need.

See 42 U.S.C. § 1396n(c); 14 N.Y.C.R.R. § 635-10.1 et seq. (See J.A. 166.)

     More than 37,000 individuals live and receive services in OPWDD-

certified residential facilities, making New York’s certified residential

housing system the largest in the country. (J.A. 166.) An average of 1,000

new residents are placed within the system each year. (J.A. 166.) The

vast majority (82%) of OPWDD-certified residential facilities are operated

by independent (or “voluntary”) providers in the nonprofit and private

sectors; OPWDD itself operates only a limited number of such facilities.

(J.A. 167.)

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     Because eligible individuals may face a range of developmental and

intellectual disabilities, and may have a wide variety of unique clinical

needs, behavioral issues, and placement preferences, the process for

placing an eligible individual in a residential facility is necessarily

complex and collaborative. A successful placement requires OPWDD, the

prospective resident (and/or the resident’s family), and the residential

provider to reach consensus that a particular opportunity is a safe and

appropriate fit for the prospective resident. (See J.A. 146, 168-178, 181-

182.) Even if a given provider has available bed space, an individual

cannot be placed with that provider unless the provider determines—in

the exercise of professional judgment—that the facility has the resources

to meet the individual’s needs while ensuring the continued health and

safety of the facility’s staff and existing population. (See J.A. 147, 154,

177, 185-186.) OPWDD has no statutory, regulatory, or contractual

authority to compel a voluntary provider to accept an individual for

residential placement. (J.A. 154, 186.)

     Residential care facilities (both voluntary and state-operated)

across New York have for years labored under an extended staffing short-

age, which was significantly exacerbated by the COVID-19 pandemic.


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(See J.A. 148-153, 184.) Salary increases, work incentives, and recruit-

ment efforts have so far proven insufficient to fully resolve this crisis.

(See J.A. 153, 160.) The State’s inability to maintain sufficient staffing

levels has forced it to close more than 138 state-operated residential

programs since 2019—eliminating 858 residential opportunities. While

not all of those beds were occupied when the facilities closed, the closures

forced 616 individuals to change residences. (J.A. 152.) Those facilities

that continue to operate have struggled to maintain staffing levels suffi-

cient to ensure their residents’ health and safety. (J.A. 154.) The staffing

shortage has severely hindered OPWDD’s ability to place eligible

individuals in home and community-based settings. (J.A. 148-153, 184.)


B.   The Plaintiffs and Proposed Intervenors

     The individual plaintiffs and proposed intervenors in this lawsuit

are persons with varying developmental disabilities, some of whom

appear in this litigation through next friends. Each individual sought to

be transferred from an institutional facility (e.g., a hospital or rehabilita-

tion center) into a residential care facility. Each individual alleges that

he or she faced unreasonable delays in securing placement in a residential

facility. (See J.A. 25-27, 37-56, 77-79, 90-113, 351-353, 363-381.)

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     DRNY (the trade name under which Disability Advocates, Inc.

currently conducts business) is an advocacy group organized as an

independent corporation under New York law. (J.A. 79.) It does not claim

to operate as a membership organization. DRNY has been designated as

New York’s protection and advocacy system under federal law. (J.A. 79.)

Under that designation, DRNY is authorized (inter alia) to “pursue legal,

administrative, and other appropriate remedies or approaches to ensure

the protection of, and advocacy for, the rights” of individuals with develop-

mental disabilities. 42 U.S.C. § 15043(a)(2); see id. § 10805(a)(1)(B) (simi-

lar as to individuals with mental illness).


C.   Procedural History

     Eight individual plaintiffs and DRNY filed this lawsuit in June

2022, naming as defendants DOH, OPWDD, and those agencies’ commis-

sioners. (J.A. 22-73.) After defendants notified plaintiffs and the district

court of their intention to file a motion to dismiss (see J.A. 13, 16),

plaintiffs filed an amended complaint in October 2022 (J.A. 74-135). The

amended complaint again named eight individuals and DRNY as plain-

tiffs—but it dropped two individual plaintiffs who had transitioned to

suitable residential facilities (T.C. and M.L.) and replaced those individ-

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uals with two new individual plaintiffs (L.P. and J.C.M.). (Compare

J.A. 22 with J.A. 74; see J.A. 216, 442.) 1

      Broadly speaking, plaintiffs allege that defendants violated various

federal statutes and the Due Process Clause by failing to place the

individual plaintiffs in residential facilities promptly upon their request.

(See J.A. 75-76, 123-132.) The individual plaintiffs also claimed to

represent a putative class comprised of “[i]ndividuals with disabilities

who have been, or will be, determined by OPWDD to be eligible for HCBS

Waiver services and certified residential opportunities, but remain

institutionalized due to Defendants’ failure to deliver these services.”

(J.A. 121, 132.) Plaintiffs sought declaratory relief and an injunction

requiring defendants to place the individual plaintiffs in residential

facilities within sixty days, and to accelerate the placement of putative

class members into residential facilities. (J.A. 132-133.)

      In October 2022, plaintiffs moved for a preliminary injunction

requiring defendants “promptly” to place the individual plaintiffs in

residential facilities. (J.A. 14; S.D.N.Y. ECF No. 37.) The district court



      1The district court granted the individual plaintiffs’ motion to
proceed under pseudonymous initials. (J.A. 14; S.D.N.Y. ECF No. 42.)
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denied that motion on December 15, 2022, ruling (inter alia) that

plaintiffs were unlikely to prevail on the merits. (J.A. 210-233.) The court

concluded that plaintiffs had not established that defendants unreason-

ably delayed placing the individual plaintiffs in residential facilities

(J.A. 227); that defendants’ temporary inability to place the individual

plaintiffs in such facilities had been caused by the absence of placement

opportunities (J.A. 229); and that an order requiring defendants to

immediately place the individual plaintiffs in residential facilities would

have impermissibly required fundamental alterations to the State’s

residential treatment program (J.A. 231). The court specifically found

that requiring defendants to place the individual plaintiffs in residential

facilities over the objections of those facilities’ operators would endanger

individuals who already resided at those facilities. (J.A. 225.) Plaintiffs

did not appeal the denial of the preliminary injunction.

     In December 2022, defendants moved to dismiss the amended

complaint in part. (J.A. 17, 187-209.) As relevant here, defendants

explained that DRNY lacks Article III standing: Defendants’ actions do

not impose any injury-in-fact upon DRNY itself, and DRNY did not allege

facts sufficient to make out the “representational” or “associational”


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standing theory through which a membership organization can establish

standing based on an injury-in-fact suffered by its members. (J.A. 207-

209.) In response to defendants’ motion, DRNY did not claim any injury

to itself, and expressly disclaimed any reliance on the associational stand-

ing doctrine. (Mem. of Law in Opp’n at 23 n.15 (Dec. 8, 2022), S.D.N.Y.

ECF No. 69.) DRNY instead argued that Congress conferred Article III

standing upon DRNY to sue “on behalf of people with disabilities in New

York” who are neither parties to the litigation nor members of DRNY.

(Id. at 23-25.)

      In July 2023—after the motion to dismiss was already fully briefed—

eight additional individuals with disabilities (represented by the same

attorneys as the original plaintiffs) filed a motion to intervene as plaintiffs.

(J.A. 17, 323-343.) The proposed intervenors argued that intervention

was appropriate because all but one of the individual plaintiffs had by

that time been placed in residential facilities, mooting those plaintiffs’

claims. (J.A. 327-328, 345.) The motion to intervene was accompanied by

a proposed intervenor complaint (J.A. 348-403) that is (apart from the

identities of the plaintiffs) materially identical to the existing amended




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complaint (compare J.A. 75-77, 80-90, 114-135 with J.A. 349-351, 353-

363, 381-403).

      In January 2024—while the motion to dismiss and the motion to

intervene remained pending—defendants submitted a letter requesting

a pre-motion conference in anticipation of a further motion to dismiss.

(J.A. 441-443.) As the letter explained, all of the individual plaintiffs had

by that time been placed in residential facilities, leaving no plaintiff with

a live case or controversy. (J.A. 442.) Plaintiffs’ responsive letter conceded

that all of the individual plaintiffs had been placed in residential facilities,

such that their claims were moot. (J.A. 445.) Plaintiffs’ letter also

acknowledged that many of the proposed intervenor plaintiffs had been

placed in residential facilities. (J.A. 445.) In fact, defendants reported in

a reply letter that all of the proposed intervenors “ha[d] already been

transitioned to the community” (i.e., placed in residential facilities) by

February 1, 2024. (J.A. 496.) Although plaintiffs suggested that the case

remained justiciable as a class action (J.A. 445-446), plaintiffs never

moved to certify a class.




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D.   The District Court’s Order

     On February 20, 2024, the district court (Vyskocil, J.) entered an

order in which the court (i) dismissed DRNY’s claims for lack of Article III

standing; (ii) dismissed the individual plaintiffs’ claims as moot; and

(iii) denied the motion to intervene. (Special Appendix (SPA) 1-21.)

     First, the court determined that DRNY lacks standing because it

asserts no individual injury and expressly disclaims reliance on the doc-

trine of associational standing. (SPA 13-14.) Although DRNY has been

granted “statutory authority to vindicate the rights of the disabled” in a

proper case, the district court reasoned that Congress cannot override the

irreducible constitutional prerequisites to federal jurisdiction. (SPA 14

(emphasis added).) As DRNY does not satisfy those prerequisites, it lacks

standing. (SPA 13-14 & n.2.)

     Second, the district court determined that the individual plaintiffs’

claims are moot because they have been placed in residential facilities

and thus “have received precisely the outcome they sought when they

brought this lawsuit.” (SPA 14.) This action therefore no longer presents

a live and justiciable case or controversy between the individual plaintiffs

and the defendants. (SPA 14-15.)


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     Third, the court denied the motion to intervene, ruling that the

motion was untimely and that the proposed intervenors had no interest

in the claims asserted by the individual plaintiffs. (SPA 15, 18-20.) The

court also noted that the proposed intervenors (like the individual plain-

tiffs themselves) could not likely be appointed to represent a plaintiff

class in view of the myriad differences among putative class members in

terms of (e.g.) diagnoses, behavioral challenges, staffing requirements,

and preferences—and the consequent impossibility of crafting lawful and

effective class-wide relief. (SPA 15-18, 20-21.)

     Plaintiffs and the proposed intervenors filed notices of appeal.

(J.A. 498-503.)2




     2 As of this filing, the district court has not entered final judgment.

See Fed. R. Civ. P. 58(a), (b)(1)(C). Plaintiffs’ appeals are therefore prema-
ture. But the notices of appeal will be treated as timely filed upon the
entry of judgment, which will take place on or before July 19, 2024. See
Fed. R. Civ. P. 58(c)(2)(B); Fed. R. App. P. 4(a)(2), (7).
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                     SUMMARY OF ARGUMENT

     I.    The district court correctly dismissed the amended complaint.

     A.    DRNY does not have Article III standing because it does not

allege the requisite injury-in-fact. DRNY does not claim that it faces any

injury itself, and it does not claim to operate as a membership organiza-

tion with “representational” or “associational” standing to sue based on

alleged injury to individual members. DRNY instead contends that

Congress authorized it to bring suit on behalf of the entire community of

individuals with developmental disabilities. But Congress cannot erase

the foundational constitutional requirement that a plaintiff must demon-

strate a concrete and particularized injury. Lacking such an injury to

itself and declining to present itself as a membership organization with

standing to sue on behalf of injured members, DRNY cannot bring this

lawsuit in federal court.

     B.    The individual plaintiffs’ claims are moot, and no exception

saves those claims from dismissal. The exception for inherently transitory

class actions does not apply—both because the claims at issue are not so

transitory as to prevent adjudication of a motion for class certification,

and because such a motion (if filed) would not succeed. The exception for


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conduct that is capable of repetition, yet evading review does not apply

because the individual plaintiffs have been placed in long-term residential

facilities and face no reasonable prospect of having to seek placement in

such a facility ever again. And the exception for cases of voluntary cessa-

tion does not apply, for the same reason. As there is no live controversy

here, the district court correctly dismissed the case.

     II.   The district court properly denied the proposed intervenors’

motion to intervene. The court’s disposition of the amended complaint did

not adjudicate the merits of any claim, and so it cannot impair the

proposed intervenors’ interests. The proposed intervenors, moreover,

never had a cognizable interest in this case in the first place. Placement

of the individual plaintiffs in appropriate residential facilities did not

affect the proposed intervenors’ requests for placement in residential

facilities suited to their own needs and preferences. And the proposed

intervenors have no cognizable interest in entering the case for the

purpose of representing a putative class that is not susceptible of

certification. The proposed intervenors’ claims are moot in any event—

and even if the claims were live, the proper course would be to file their

own lawsuit, not to extend the life of this case.


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                       STANDARDS OF REVIEW

     The district court’s determination to dismiss the amended complaint

for lack of subject-matter jurisdiction is reviewed de novo. Doherty v. Bice,

101 F.4th 169, 172 (2d Cir. 2024).

     The district court’s determination to deny the motion to intervene

is reviewed for abuse of discretion. MasterCard Int’l Inc. v. Visa Int’l Serv.

Ass’n, Inc., 471 F.3d 377, 389 (2d Cir. 2006).


                                ARGUMENT

                                   POINT I

     THE DISTRICT COURT CORRECTLY DISMISSED THE AMENDED
     COMPLAINT FOR LACK OF SUBJECT-MATTER JURISDICTION

A.   Disability Rights New York Lacks Article III Standing.

     The district court correctly dismissed DRNY’s claims for failure to

establish Article III standing. (SPA 13-14.) DRNY declines to assert any

recognized basis for finding that an organization has standing, and its

alternative theory of standing is meritless.

     Standing is a “bedrock constitutional requirement,” United States

v. Texas, 599 U.S. 670, 675 (2023), under which a plaintiff must demon-

strate a “personal stake” in a concrete case or controversy, TransUnion


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LLC v. Ramirez, 594 U.S. 413, 423 (2021) (quotation marks omitted).

Among other things, the standing requirement protects “the autonomy of

those who are most directly affected so that they can decide whether and

how to challenge the defendant’s action.” Food & Drug Admin. v. Alliance

for Hippocratic Medicine, 602 U.S. 367, 379-80 (2024) (quotation marks

omitted). To bring a claim for prospective relief, a plaintiff must show:

(i) that the plaintiff likely will suffer a concrete and particularized injury-

in-fact, (ii) that the injury likely will be caused by the defendant, and

(iii) that the requested relief would likely redress the injury. Id. at 380;

Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61 & n.1 (1992).

      An organization can satisfy Article III in either of two ways: by

showing a direct injury to the organization itself, or by establishing

“associational” (or “representational”) standing based on an injury-in-fact

suffered by a particular member of the organization. See Do No Harm v.

Pfizer Inc., 96 F.4th 106, 112-14 (2d Cir. 2024); Connecticut Parents Union

v. Russell-Tucker, 8 F.4th 167, 172 (2d Cir. 2021). While a nonmember-

ship organization may invoke representational standing, to do so it must

show that its injured constituents exhibit “indicia of membership”—most

importantly, representation and control—such that the entity “function[s]


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effectively as a membership organization.” Disability Advocates, Inc. v.

New York Coal. for Quality Assisted Living, Inc., 675 F.3d 149, 157-59

(2d Cir. 2012) (quotation marks omitted); see Hunt v. Washington State

Apple Advert. Comm’n, 432 U.S. 333, 344-45 (1977); Mental Hygiene

Legal Serv. v. Cuomo, 609 F. App’x 693, 695 (2d Cir. 2015); In re Holocaust

Victim Assets Litig., 225 F.3d 191, 196 (2d Cir. 2000).

     DRNY does not attempt to establish either form of standing. It does

not allege that the organization itself faces any prospect of injury. And

having expressly disavowed associational standing in the district court

(SPA 13; Mem. of Law in Supp. at 23 & n.15, S.D.N.Y. ECF No. 69),

DRNY has never attempted to show that it satisfies the fundamental

requirements for invoking that theory—namely, an injury-in-fact suffered

either by a member of the organization or by a constituent having indicia

of membership. See Disability Advocates, 675 F.3d at 157-59.3



     3 Twelve years ago in Disability Advocates, this Court held that

DRNY (then proceeding under its corporate name) lacked associational
standing. See 675 F.3d at 157-59. At that time, DRNY had not been
designated as a protection and advocacy system. This Court therefore did
not reach the question whether designation as a protection and advocacy
system would be sufficient to establish the requisite indicia of member-
ship. Id. at 158. Although DRNY has subsequently been designated as a
                                                             (continued on the next page)


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     Instead of relying on existing standing doctrine, DRNY asserts a

novel theory to which it refers as “congressionally authorized represen-

tational standing.” Br. for Pl.-Appellant Disability Rights New York

(DRNY Br.) at 15-16, 18 n.3. DRNY contends that its designation as New

York’s protection and advocacy system (see supra at 7) is alone sufficient

to confer standing to sue on behalf of unidentified nonparty individuals

“with intellectual and developmental disabilities” who (according to

DRNY) “have been injured by unnecessary institutionalization.” DRNY

Br. at 15-16. But this theory of third-party standing—which forgoes any

allegation that DRNY’s constituents are members of the organization or

that they exhibit any indicia of such membership—fails as matter of

black-letter law. Mere authorization to represent a third party’s interests

is insufficient “to confer Article III standing on private parties with no

injury of their own.” Hollingsworth v. Perry, 570 U.S. 693, 710 (2013).

     DRNY’s new theory of representational standing is an attempt to

end-run the indicia-of-membership requirement. But as this Court recog-




protection and advocacy system (see supra at 7), the question reserved in
Disability Advocates still is not presented here because of DRNY’s
express disavowal of associational standing.
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nized in Disability Advocates, that requirement is essential for the

representational standing doctrine to comport with Article III. 675 F.3d

at 159. Requiring an organizational plaintiff to show that its constituents

exercise representation and control within the organization is necessary

to ensure that the organization has filed the lawsuit in a truly “represen-

tational” sense—acting for persons who “participate in and guide the

organization’s efforts,” Association for Retarded Citizens of Dallas v.

Dallas Cnty. Mental Health & Mental Retardation Ctr. Bd. of Trs.,

19 F.3d 241, 244 (5th Cir. 1994); Missouri Prot. & Advoc. Servs., Inc. v.

Carnahan, 499 F.3d 803, 809 (8th Cir. 2007), and for whom the

organization is “the means by which they express their collective views

and protect their collective interests,” Hunt, 432 U.S. at 345. Without

representation and control, nominally “representational” standing would

impermissibly empower advocacy organizations to pursue independent

policy agendas without regard for “the autonomy of those who are most

directly affected” by a defendant’s action. See Alliance for Hippocratic

Medicine, 602 U.S. at 379-80 (quotation marks omitted). The requirement

to show that at least one individual having “indicia of membership” would

have standing in his or her own right is thus “an element of the constitu-


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tional requirement of a case or controversy.” United Food & Com. Workers

Union Loc. 751 v. Brown Grp., Inc., 517 U.S. 544, 554-55 (1996) (quota-

tion marks omitted); see Disability Advocates, 675 F.3d at 159.

     In arguing that it can establish standing without alleging injury to

any member (or to any constituent with indicia of membership), DRNY

misplaces its reliance (DRNY Br. at 8) upon United Food. In that case,

the Supreme Court explained that the representational-standing doctrine

satisfies the demands of Article III only because it “requir[es] an

organization suing as representative to include at least one member with

standing to present, in his or her own right, the claim (or the type of

claim) pleaded by the association.” 517 U.S. at 555. Indeed, the require-

ment of an injury to a member “can only be seen as itself an Article III

necessity for an association’s representative suit.” Id.; see Disability

Advocates, 675 F.3d at 159 (similar). So while Congress can relax pruden-

tial standing rules and thus “expand standing to the full extent permitted

by Art[icle] III” (DRNY Br. at 8 (quotation marks omitted); see id.

at 20-22), that principle does not help DRNY here. See Disability

Advocates, 675 F.3d at 157, 159.




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     DRNY errs in relying (Br. at 9-10, 16) on United States ex rel.

Kreindler & Kreindler v. United Technologies Corp., 985 F.2d 1148 (2d

Cir. 1993). In Kreindler, this Court explained that a qui tam relator

“invokes the standing of the government” to recover damages for an

injury to the government. Id. at 1154. The Supreme Court subsequently

clarified the justification for finding Article III satisfied in this context:

through the False Claims Act, the federal government effects a partial

assignment of its own damages claims, thus permitting a qui tam relator

to invoke the “doctrine that the assignee of a claim has standing to assert

the injury in fact suffered by the assignor.” Vermont Agency of Nat. Res.

v. United States ex rel. Stevens, 529 U.S. 765, 773, 778 (2000). That theoret-

ical justification is not present here, because no nonparty individual has

assigned any claim to DRNY. To the contrary, individuals with disabilities

(including the individual plaintiffs and proposed intervenors in this case)

retain full right and authority to decide whether and how to pursue

claims like those that DRNY seeks to advance.

     DRNY also cites (DRNY Br. at 17-18) the Supreme Court’s decision

in Virginia Office for Protection & Advocacy v. Stewart—but no question

of standing (representational or otherwise) arose in that case, because


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the organizational plaintiff alleged a violation of its own right to access

state records. See 563 U.S. 247, 252 (2011). The case instead concerned

only whether the state defendant was immune from suit. See id. at 250,

253-54. DRNY’s quotations from the Supreme Court’s summary of the

statutory background (Br. at 17-18) have nothing to do with third-party

standing or with Article III more generally. See 563 U.S. at 251-52.

     DRNY’s district-court cases (Br. at 18-20) are unavailing. DRNY

cited three of those decisions in Disability Advocates,4 but this Court

rightly found them unpersuasive because they “elided the constitutional

dimensions” of standing. 675 F.3d at 159. And DRNY’s remaining case

commits the same fundamental error: Like DRNY itself (see supra at 21),

the Indiana district court incorrectly relied on United Food’s discussion

of the prudential aspect of associational standing to invent a mistaken

theory of “statutory standing” that disregards the requisites of Article III.

See Indiana Prot. & Advoc. Servs. Comm’n v. Indiana Fam. & Soc. Servs.




     4 See Br. for Pl.-Appellee Disability Advocates, Inc. at 67-68, Disabil-

ity Advocates, 675 F.3d 149 (No. 10-235), 2010 WL 4063233 (citing Trautz
v. Weisman, 846 F. Supp. 1160, 1163 (S.D.N.Y. 1994); Rubenstein v.
Benedictine Hosp., 790 F. Supp. 396, 408 (N.D.N.Y. 1992); and Goldstein
v. Coughlin, 83 F.R.D. 613, 614 (W.D.N.Y. 1979)).
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Admin., 630 F. Supp. 3d 1022, 1029-30 (S.D. Ind. 2022). The defect in

DRNY’s standing here is not a merely prudential matter. Rather, DRNY

fails to satisfy the essential elements of Article III’s case-or-controversy

requirement. See United Food, 517 U.S. at 554-55; Disability Advocates,

675 F.3d at 159. As the district court in this case correctly observed,

quoting Spokeo, Inc. v. Robins, 578 U.S. 330, 339 (2016), “Congress cannot

erase Article III’s standing requirements”—here, the requirement to

identify an injured member—“by statutorily granting the right to sue to

a plaintiff who would not otherwise have standing.” (SPA 14.) And

contrary to DRNY’s mistaken assumption (see DRNY Br. at 21-22),

Congress lacks authority to confer standing on an entity that fails to

satisfy Article III’s minimum requirements. 5

     Declining DRNY’s invitation to invent a new theory of standing

divorced from membership will not prevent the organization from fulfilling

its mission to protect and advocate for individuals with disabilities.




     5 Recent and well-reasoned district court decisions have rejected

DRNY’s novel representational standing theory for this reason. See, e.g.,
Disability Rights N.Y. v. New York, No. 17-cv-6965, 2019 WL 2497907,
at *5-10 (E.D.N.Y. June 14, 2019), report and recommendation adopted,
2024 WL 20753, at *15-16 (E.D.N.Y. Jan. 2, 2024).
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DRNY is free to advocate for such individuals by (for example) identifying

specific plaintiffs, providing them with legal representation, and bringing

actions (including class actions, where appropriate) in those plaintiffs’

names. DRNY took that approach in this case (see J.A. 1-7), and has done

so in other lawsuits as well. See, e.g., Disability Rights, 2019 WL 2497907,

at *1; Joseph S. v. Hogan, 561 F. Supp. 2d 280 (E.D.N.Y. 2008).

      In contrast, a decision authorizing DRNY to seek sweeping relief

under its novel theory of statutory representational standing—without

either securing class certification or identifying injured members—would

raise serious concerns. Just as Federal Rule of Civil Procedure 23 is

designed to ensure that class members are not unfairly deprived of their

rights, 6 in representational-standing cases the “very forces that cause

individuals to band together . . . provide some guarantee that the

association will work to promote their interests.” International Union,

United Auto., Aerospace & Agric. Implement Workers v. Brock, 477 U.S.

274, 290 (1986). Allowing organizations like DRNY to litigate on behalf




     6 See generally Fed. R. Civ. P. 23(a)(4), (c), (d)(1)(B), (e); In re
Payment Card Interchange Fee & Merch. Disc. Antitrust Litig., 827 F.3d
223, 231-40 (2d Cir. 2016).
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of nonmembers would put such individuals at risk of having their

interests impaired or compromised without consent or even notice. The

requirement of membership (or its functional equivalent) avoids such

outcomes by ensuring that individuals whose interests may be affected

by a lawsuit have the opportunity to influence the litigation—or, at mini-

mum, to opt out of the organization and thus to avoid the effects of any

judgment or settlement. Because DRNY’s nonparty constituents have no

such opportunity, the organization lacks standing to sue on their behalf.

See Disability Advocates, 675 F.3d at 157, 159.


B.   The Individual Plaintiffs’ Claims Are Moot, and
     No Exception Applies.

     Unlike DRNY, the individual plaintiffs at least colorably alleged

injuries-in-fact—i.e., allegedly unlawful delays in securing residential

placements for themselves. Although the individual plaintiffs’ legal chal-

lenges to those delays were unlikely to succeed (J.A. 226-233), the district

court ultimately determined that it had no jurisdiction to reach the

merits of those challenges (SPA 14-15). That decision was correct, because

it is undisputed that all of the individual plaintiffs have secured the

residential placements that they sought by bringing suit—rendering their


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claims moot. (J.A. 442, 445.) The individual plaintiffs attempt on appeal

to invoke several exceptions to the mootness doctrine, but those efforts

all fail.


       1.   The individual plaintiffs’ claims do not trigger the
            exception for “inherently transitory” classes.

       The individual plaintiffs first argue (Br. of Pls.-Appellants A.H. et

al. (A.H. Br.) at 21-26) that the case is not moot because they assert

claims on behalf of a putative class whose membership is so “inherently

transitory” that the district court did not “have even enough time to rule

on a motion for class certification before the proposed representative’s

individual interest expires.” Elisa W. v. City of New York, 82 F.4th 115,

122 n.2 (2d Cir. 2023) (quoting Comer v. Cisneros, 37 F.3d 775, 799 (2d

Cir. 1994)). This contention is belied by the fact that this case was pending

for some eighteen months before the last of the individual plaintiffs’

claims was rendered moot in or around January 2024. (See J.A. 11, 441-

443.) Moreover, several of the individual plaintiffs allege that they had

been eligible for placement in residential facilities for multiple years

before they joined this action. (J.A. 96, 108, 111, 113; see J.A. 181 & n.5.)

The individual plaintiffs concede that such periods would allow sufficient


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time for a proposed class representative to obtain a ruling on a motion for

class certification. See A.H. Br. at 25. That concession is enough to fore-

close application of the exception for inherently transitory classes here.

     In contradistinction to the litigants in the cases on which the

individual plaintiffs rely (A.H. Br. at 22-23), the individual plaintiffs here

never made a motion for class certification while the case was pending

below. Cf. Elisa W., 82 F.4th at 121; Salazar v. King, 822 F.3d 61, 72 (2d

Cir. 2016); Comer, 37 F.3d at 784; Robidoux v. Celani, 987 F.2d 931, 934

(2d Cir. 1993). Had the individual plaintiffs made such a motion, the

district court could readily have decided the certification question before

the case became moot. Citing Salazar, the individual plaintiffs assert

(A.H. Br. at 25) that their putative class must be inherently transitory

because average wait times for placement in residential facilities are

around six months (J.A. 180). But Salazar said that an average period of

less than three months (and a maximum of around six months) would be

insufficient to guarantee decision on class-certification prior to the

proposed representative’s claims becoming moot. 822 F.3d at 74. The

average and maximum periods alleged in this case (six months and multi-




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ple years, respectively, see J.A. 96, 108, 111, 113, 180, 181 & n.5) exceed

the comparable periods in Salazar.

     The individual plaintiffs argue that this Court should overlook their

failure to move for certification because the district court did not rule

more promptly on defendants’ partial motion to dismiss (A.H. Br. at 31-

32)—but nothing prevented a motion for class certification based on the

claims as originally pleaded. The individual plaintiffs also complain about

defendants’ discovery responses (A.H. Br. at 12-14, 32)—but they do not

challenge the district court’s discovery order (J.A. 406-407), do not allege

that defendants failed to comply with that order, 7 and do not identify any

evidence without which they were unable to file a certification motion.

     The individual plaintiffs’ attempt to invoke the exception for

inherently transitory classes also fails because they have not established

the existence of a “constant class of persons” whose interests the individ-

ual plaintiffs could properly represent. See Salazar, 822 F.3d at 73




     7 While the discovery correspondence was not filed on the district

court docket, defendants produced thousands of pages of document
discovery in compliance with the district court’s order. (See J.A. 445
(plaintiffs acknowledging defendants’ production of “policy-related docu-
ments”); SPA 16-17.)
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(quotation marks omitted); J.D. v. Azar, 925 F.3d 1291, 1311 (D.C. Cir.

2019). As the district court explained (SPA 20-21), no such class exists in

this case because plaintiffs do not advance a theory under which a class

could be certified. For one thing, the individual plaintiffs cannot satisfy

the commonality requirement of Federal Rule of Civil Procedure 23(a)(2)—

under which a class cannot be certified unless aggregate litigation will

generate common answers to shared questions, so as to “drive the resolu-

tion of the litigation.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350

(2011) (quotation marks omitted). Here, the proposed class would not be

certified for the purpose of challenging any specific class-wide practice,

see id. at 357, but instead would contend that the placement process has

moved too slowly in each individual’s case. Each claim would necessarily

turn on myriad individualized questions relating to the specific facts and

circumstances of the particular claimant’s case—such as the needs, prefer-

ences, and available resources that affect the timing of each individual’s

placement in a residential facility. There are no common answers to such

questions, so class certification would be impermissible.

     The plaintiffs’ distinct individual circumstances also mean that a

motion for class certification would fail under Rule 23(b)(2). An injunction


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class like the one that the individual plaintiffs proposed to represent is

permissible “only when a single injunction . . . would provide relief to

each member of the class.” Dukes, 564 U.S. at 360; Berni v. Barilla S.p.A.,

964 F.3d 141, 146 (2d Cir. 2020). In this case, there is no lawful injunction

that could provide relief to each putative class member (see SPA 21): An

injunction merely directing defendants to “promptly” place each

individual in a residential facility would violate Rule 65(d)’s clarity and

specificity requirements, see, e.g., Peregrine Myanmar Ltd. v. Segal, 89

F.3d 41, 51 (2d Cir. 1996); Rosen v. Siegel, 106 F.3d 28, 32 (2d Cir. 1997),

but a fixed one-size-fits-all deadline would in many circumstances exceed

the State’s obligations under the Medicaid Act, see 42 U.S.C. § 1396a(a)(3),

(8) (requiring only “reasonable promptness”); id. § 1396n(c)(2)(C) (requir-

ing provision only of “feasible” and “available” residential alternatives).

Nor could the district court order defendants to change the State’s system

for placing eligible individuals in residential facilities (e.g., by requiring

OPWDD “to be the provider of last resort,” J.A. 470), because such an

order would impermissibly require the State to “fundamentally alter” its

program (see J.A. 153-159, 168-178, 230-231). See 28 C.F.R. § 35.130(b)(7);

Olmstead v. L.C. ex rel. Zimring, 527 U.S. 581, 603, 605-06 (1999).


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     Finally, there is no support for the individual plaintiffs’ suggestion

that defendants offered residential placements to the individual plaintiffs

only out of a supposedly improper desire “to try to moot meritorious class

claims” (A.H. Br. at 25-26). As discussed (supra at 4-6), identifying and

securing a potential placement is a complex and multilayered process

requiring consensus among not only OPWDD and the individual seeking

placement (and sometimes the individual’s family), but also the particular

facility at which the individual is to reside. (See J.A. 146-147, 154, 159,

168-178, 181-182, 185-186.) The individual plaintiffs’ assertions that

defendants exercise “complete control” over the timing of placement

decisions (A.H. Br. at 25-26) is false: OPWDD has no control over many

aspects of the placement process, and in particular it has no power to

compel voluntary providers to accept particular individuals for residential

care and treatment. (J.A. 154, 186.)




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     2.   The individual plaintiffs’ claims do not trigger
          the exception for claims that are “capable of
          repetition yet evading review.”

     The individual plaintiffs next contend (A.H. Br. at 27-29) that their

alleged injuries are “capable of repetition yet evading review.” This moot-

ness exception applies only to individual claims (not to class claims), and

it “is not applicable unless the repetition would affect the same complain-

ing party,” Doherty, 101 F.4th at 173 (quotation marks omitted). To invoke

the exception, the plaintiff must establish both (1) a “reasonable expecta-

tion” or “demonstrated probability” that he or she will again be subject to

the same challenged action; and (2) that the future challenged action will

be of too short a duration to be fully litigated before it ceases again. Exxon

Mobil Corp. v. Healey, 28 F.4th 383, 395-96 (2d Cir. 2022); Irish Lesbian

& Gay Org. v. Giuliani, 143 F.3d 638, 647-48 (2d Cir. 1998); Dennin v.

Connecticut Interscholastic Athletic Conf., Inc., 94 F.3d 96, 100-01 (2d

Cir. 1996).

     The individual plaintiffs do not satisfy either element of this test.

On the first point, none of the individual plaintiffs has established a

reasonable expectation, let alone a demonstrated probability, that he or

she will again face the alleged deprivation that the amended complaint


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sought to remedy—i.e., allegedly unreasonable delay before placement in

a residential facility. The individual plaintiffs’ only evidence on this point

is the allegation that a single individual plaintiff, L.P., purportedly “cycled

in and out of institutional settings.” A.H. Br. at 27-28. But L.P.’s situation

was sui generis, 8 and even she faced only a single instance of having to

await a new placement after her then-guardian discharged her from her

original residential facility (J.A. 101). None of the other seventeen

individuals identified in this action claims to have faced even a single

recurrence of the conduct that they wish to challenge. (See J.A. 37-41, 55-

56, 90-99, 102-113, 363-381.)9



      8 The pleadings in the lawsuit referenced in the amended complaint

(J.A. 100-101) disclose that L.P. was transported to a hospital “after
displaying aggressive behaviors” that “could not be managed” at the
residential facility where she had been placed. Compl. ¶¶ 46-47, Mental
Hygiene Legal Serv., Third Department v. Kastner, No. 1:20-cv-957
(N.D.N.Y. Aug. 19, 2020), ECF No. 1. L.P. could not return to her prior
residential facility upon being released from the hospital because her
then-guardian had discharged her from all of that residential facility’s
services during her hospitalization; that guardian was later removed
from her position. See id. ¶¶ 43, 48-49.
      9 Contrary to the individual plaintiffs’ contention (A.H. Br. at 28),

this case is not “analogous” to Olmstead. Each of the plaintiffs in that
case had been subject to multiple and unstable placements in a psychiatric
hospital (one of them “eighteen different times”) despite their desire for
stable, community-based treatment. L.C. ex rel. Zimring v. Olmstead, 138
F.3d 893, 895 & n.2 (11th Cir. 1998); see Olmstead, 527 U.S. at 594 n.6.
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     The individual plaintiffs otherwise can only speculate that, for

unspecified reasons, they might in the future be removed from their

current residential facilities, and might then face unreasonable delays

before being placed in alternative residential facilities. These merely

theoretical possibilities are too speculative to establish an ongoing case

or controversy. See Exxon Mobil, 28 F.4th at 396 (collecting cases).

     Even assuming a hypothetical future in which the individual

plaintiffs are removed from their current residential facilities and placed

back in institutional settings, there is no basis to conclude that any future

challenge to such a placement would evade review. Quite the contrary:

A future lawsuit would have to be premised on an individual plaintiff’s

fear of unreasonable delay in obtaining a new placement, and (as discussed

above, at 27-29) that very delay would provide the opportunity to seek

and obtain judicial intervention.




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     3.   The individual plaintiffs’ claims do not trigger the
          “voluntary cessation” exception.

     The individual plaintiffs’ claims also do not fall under the voluntary

cessation doctrine, as plaintiffs incorrectly suggest (A.H. Br. 29-30). This

case is moot because the individual plaintiffs have all been placed in

residential facilities, and there is no reasonable, nonspeculative possibility

that any individual plaintiff will be removed from his or her residence

and then subjected to prolonged delay in obtaining a new residential

placement in the future. See Exxon Mobil, 28 F.4th at 395; Lillbask ex

rel. Mauclaire v. Connecticut Dep’t of Educ., 397 F.3d 77, 88-89 (2d Cir.

2005); Farrell v. Hochul, No. 22-517, 2023 WL 3014758, at *1 (2d Cir.

Apr. 20, 2023) (summary order).

      The individual plaintiffs do not argue otherwise with respect to

themselves. Instead, they point to allegedly unreasonable delays faced by

“others in the putative class.” A.H. Br. at 30. But if other putative class

members face such delays, then there has been no voluntary cessation of

the challenged conduct with respect to those individuals. Any such individ-

ual with a live claim may sue in his or her own name. The individual

plaintiffs here—who have not been appointed to serve as representatives

of the putative but uncertified class—have neither authority nor stand-

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ing to assert the interests of unnamed third parties who are not before

the Court.

                                 *     *      *

     Finally, the district court’s determination to dismiss the individual

plaintiffs’ moot claims sua sponte and without full briefing does not supply

grounds for reversal, as plaintiffs wrongly contend (A.H. Br. at 41-44).

The individual plaintiffs agree that this Court can and should resolve the

mootness issues on the existing record (id. at 18, 43), and they do not

identify any question with respect to which remand for fact development

might be necessary. Moreover, as this Court recognized in one of the cases

upon which plaintiffs rely (id. at 41, 43), summary dismissal is permissible

when subject matter jurisdiction is lacking because the federal courts are

obligated to consider subject matter jurisdiction sua sponte. International

Code Council, Inc. v. UpCodes Inc., 43 F.4th 46, 54 n.1 (2d Cir. 2022).

Here, the district court did not commit reversible error by dismissing the

individual plaintiffs’ moot claims after those very plaintiffs admitted that

they have no live cause of action (see J.A. 445). See International Code

Council, 43 F.4th at 53-54 n.1; Grossman v. GEICO Cas. Co., No. 21-2789,

2022 WL 1656593, at *4 (2d Cir. May 25, 2022) (summary order) (no


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reversible error in summary dismissal in view of complaint’s substantial

legal deficiencies).


                                   POINT II

                   THE DISTRICT COURT PROPERLY
                   DENIED THE MOTION TO INTERVENE

      Having correctly dismissed the amended complaint for lack of

subject-matter jurisdiction, the district court did not abuse its discretion

in denying the motion to intervene. (SPA 15-21.)

      On appeal, the proposed intervenors argue only that they were

entitled to intervene as of right under Rule 24(a)(2). (See A.H. Br. at 34-

41.) But that Rule allows for intervention only where, among other

requirements, the proposed intervenor “is so situated that disposing of

the action may as a practical matter impair or impede the movant’s ability

to protect its interest” in the case. Fed. R. Civ. P. 24(a)(2). Here, the

district court’s disposition of the action (dismissal for mootness and lack

of standing) does not in any way impede the proposed intervenors’

interests: The dismissal was inherently without prejudice, see Hernandez

v. Conriv Realty Assocs., 182 F.3d 121, 123 (2d Cir. 1999), and it has no

preclusive effect against the proposed intervenors, see St. Pierre v. Dyer,


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208 F.3d 394, 400-01 (2d Cir. 2000); Siegel v. Apergis, 610 F. App’x 15, 16

(2d Cir. 2015). Thus, as the district court concluded, the disposition does

not prejudice the proposed intervenors, for they remain free to file their

own lawsuits insofar as they have live causes of action. (SPA 21.) That

determination—which the proposed intervenors do not contest—is a

sufficient ground to affirm the district court’s denial of intervention

under Rule 24(a)(2). See In re Bank of N.Y. Derivative Litig., 320 F.3d

291, 300 (2d Cir. 2003).

     In addition, as the district court correctly determined (SPA 19-21),

the proposed intervenors have no cognizable “interest relating to the

property or transaction that is the subject of the action,” Fed. R. Civ. P.

24(a)(2). To satisfy this requirement, a proposed intervenor’s interest in

the action must be “direct, substantial, and legally protectable.” Washing-

ton Elec. Coop., Inc. v. Massachusetts Mun. Wholesale Elec. Co., 922 F.2d

92, 97 (2d Cir. 1990). Here, the proposed intervenors never had an interest

in the now-moot claims asserted by the individual plaintiffs—the place-

ment of any individual plaintiff in a residential facility based on the facts

and circumstances of that person’s particular situation had no effect on

any proposed intervenor. (SPA 19.) While the proposed intervenors might


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in theory have claimed an interest relating to the putative class claims

(SPA 20), any such interest had vanished by the time the district court

issued its decision: All of the proposed intervenors had “already been

transitioned to the community” by February 1, 2024. (J.A. 496; see

J.A. 445.) The proposed intervenors thus have no substantial or legally

protectable interest in the case.

     The district court also correctly concluded (SPA 20-21) that the

proposed intervenors cannot claim an interest in the putative class claims

for another reason. An interest does not satisfy Rule 24(a)(2) if it is

“contingent upon the occurrence of a sequence of events before it becomes

colorable,” Washington Elec., 922 F.2d at 97, and an asserted interest is

impermissibly contingent if, for example, it depends upon the outcome of

a legal proceeding, see, e.g., St. John’s Univ., N.Y. v. Bolton, 450 F. App’x

81, 83 (2d Cir. 2011). Many recent decisions have concluded that a

proposed intervenor does not have a cognizable interest in the claims of

a putative class unless and until that class has been certified: Absent




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certification, the disposition of claims asserted in a putative class action

has no effect on absent third parties.10

     Here, the proposed intervenors’ supposed interests in the claims of

the putative class are contingent not only upon class certification being

granted, but even upon such a motion being made. Moreover, as the

district court made clear (SPA 20-21), any such motion would likely fail—

both because the varied circumstances of the putative class members

would preclude a finding of commonality, and because the courts could

not lawfully grant class-wide injunctive relief. See supra at 29-31. The

proposed intervenors do not contest that conclusion, nor do they otherwise

show that a belated motion for class certification could succeed.

     Moreover, as the proposed intervenors’ own authority explains (see

A.H. Br. at 40), they could not obtain class certification even if they were

to enter the case: Because the proposed intervenors’ individual claims are

already moot (see supra at 11, 40), they “can no longer adequately



     10 See, e.g., Authors Guild v. Open AI, Inc., 345 F.R.D. 585, 590

(S.D.N.Y. 2024), appeal docketed, No. 24-1007 (2d Cir. Apr. 15, 2024);
Calderon v. Clearview AI, Inc., No. 20-cv-1296, 2020 WL 2792979, at *5
(S.D.N.Y. May 29, 2020); Travis v. Navient Corp., 284 F. Supp. 3d 335,
342-43 (E.D.N.Y. 2018); Mejia v. Time Warner Cable Inc., No. 15-cv-6445,
2017 WL 3278926, at *18 (S.D.N.Y. Aug. 1, 2017).
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represent the interests of the proposed class” even if the other requisites

to certification were met. Eckert v. Equitable Life Assurance Soc’y, 227

F.R.D. 60, 64 (E.D.N.Y. 2005).

     The proposed intervenors’ other cases (see A.H. Br. at 36-40) are all

distinguishable. For example, in Norman v. Connecticut State Board of

Parole, 458 F.2d 497, 499 (2d Cir. 1972) (per curiam); In re Bear Stearns

Cos., Inc. Securities, Derivative, & ERISA Litigation, 297 F.R.D. 90, 93

(S.D.N.Y. 2013); and Diduck v. Kaszycki & Sons Contractors, Inc., 149

F.R.D. 55, 57 (S.D.N.Y. 1993), the intervenors sought to enter a case to

litigate as representatives of a class that had already been certified.

Similarly, in Gaddis v. Wyman, the plaintiff had filed an apparently

meritorious certification motion, such that the proposed intervenor had

interests both in the outcome of the case and in the preliminary question

of class certification. 304 F. Supp. 713, 717 (S.D.N.Y. 1969). No such

motion has been made in this case—and again, plaintiffs do not contest

the district court’s determination that any such motion would likely fail.

     Finally, the district court properly determined that the motion to

intervene was untimely. (SPA at 15, 18-19.) This question turns primarily

on (1) how long the proposed intervenor had notice of its interest in the


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case before it made the motion; (2) the prejudice to the existing parties

resulting from the proposed intervenors’ delay in filing; and (3) any

prejudice to the applicant if the motion is denied. See In re Bank of N.Y.,

320 F.3d at 300. Here, each factor weighs in favor of the district court’s

determination: (1) the intervenors’ attorneys had notice of their interest

in the case more than a year before they sought to intervene; (2) granting

the motion after such an extended delay would prejudice defendants by

forcing them to continue expending resources to defend a lawsuit in

which there is no live case or controversy; and (3) denying the motion

does not prejudice the proposed intervenors, who remain free to file their

own lawsuits. The proposed intervenors only address the first point—

arguing that they sought to join the case upon realizing that the putative

class would have no representative once the individual plaintiffs’ claims

become moot. A.H. Br. at 35-38. That argument is insufficient to support

overturning the decision below, because the putative class is not suscepti-

ble of certification. In any event, the proposed intervenors do not attempt

to show that they face any prejudice from the district court’s order which

could justify forcing defendants to continue defending against moot claims

and an uncertifiable plaintiff class.


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                              CONCLUSION

     The judgment should be affirmed.

Dated: New York, New York
       July 3, 2024

                                            Respectfully submitted,

                                            LETITIA JAMES
                                             Attorney General
                                             State of New York
                                            Attorney for Appellees


                                       By: . /s/ Cleland B. Welton II .
                                            CLELAND B. WELTON II
                                            Assistant Solicitor General

BARBARA D. UNDERWOOD                        28 Liberty Street
 Solicitor General                          New York, NY 10005
MATTHEW W. GRIECO                           (212) 416-6197
 Senior Assistant Solicitor General
CLELAND B. WELTON II
 Assistant Solicitor General
     of Counsel




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                    CERTIFICATE OF COMPLIANCE

Pursuant to Rule 32(a) of the Federal Rules of Appellate Procedure, Emily
Paule, an employee in the Office of the Attorney General of the State of New
York, hereby certifies that according to the word count feature of the word
processing program used to prepare this brief, the brief contains 8,499 words
and complies with the typeface requirements and length limits of Rule
32(a)(5)-(7) and Local Rule 32.1.


                                            . /s/ Emily Paule           .
